         Case 1:16-cv-05211-PAE Document 116 Filed 10/30/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 SUPREME SHOWROOM, INC.,
                                         Plaintiff,
                         -v-                                               16 Civ. 5211 (PAE)

 BRANDED APPAREL GROUP LLC,                                                       ORDER

                                         Defendant.


PAUL A. ENGELMAYER, District Judge:

        The Court has received notice of the filing of a petition under chapter 11 of the

Bankruptcy Code by defendant Branded Apparel Group LLC. The Court’s understanding is that

this filing automatically results in a stay of this litigation. In the event that there is an aspect of

this litigation that is not affected by the automatic stay, counsel are to notify the Court by joint

letter due November 6, 2020. Regardless, the Court directs counsel to submit written joint status

letters as to the bankruptcy proceeding every three months. The first is due January 29, 2021.



                                                                PaJA.�
        SO ORDERED.

                                                                ____________________________
                                                                Paul A. Engelmayer
                                                                United States District Judge

Dated: October 30, 2020
       New York, New York




                                                      1
